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1    Brandon J. Witkow (SBN 210443)
2    bw@witkowlaw.com
     Erin C. Witkow (SBN 216994)
3    ew@witkowlaw.com
4    Cory A. Baskin (SBN 240517)
     cb@witkowlaw.com
5    witkow | baskin
6    21031 Ventura Boulevard, Suite 700
     Woodland Hills, California 91364
7    Tel: 818.296.9508
8    Fax: 818.296.9510

9    Attorneys for Defendant
10   LIN’S WAHA INTERNATIONAL CORP.

11                      UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13

14   OCM GROUP USA INC.,                   Case No. 2:19-cv-08917 SB (KSx)
15
                            Plaintiff,     DEFENDANT LIN’S WAHA
16                                         INTERNATIONAL CORP.’S
17         vs.                             REPLY IN SUPPORT OF
                                           MOTION FOR SUMMARY
18   LIN’S WAHA INTERNATIONAL              JUDGMENT ON PLAINTIFF’S
19   CORP, a New York corporation; and     COMPLAINT; OR, IN THE
     DOES 1-10.                            ALTERNATIVE, SUMMARY
20                                         JUDGMENT ON PLAINTIFF’S
21                          Defendant.     CLAIM FOR MONETARY
                                           DAMAGES
22

23                                         Hearing:
24
                                           Date: March 5, 2021
25                                         Time: 8:30 a.m.
                                           Ctrm: 6C
26

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1    I.   INTRODUCTION
2         Plaintiff OCM Group USA, Inc.’s (“OCM”) Opposition to Defendant Lin’s
3    Waha International Corp.’s (“Lin’s Waha”) Motion for Summary Judgment
4    demonstrates OCM’s fundamental misunderstanding of the purpose of trademark law,
5    i.e., to prevent consumer confusion. See e.g., Network Automation, Inc. v. Adv. Sys.
6    Concepts, Inc., 638 F.3d 1137, 1154 (9th Cir. 2011) (“the linchpin of trademark
7    infringement is consumer confusion”). OCM has conceded that Lin’s Waha sold
8    genuine beverage products made by the same manufacturer of the products OCM
9    sells, OCM has conceded that Lin’s Waha never altered the contents of those
10   products, OCM has conceded that there is no difference in the taste, quality or safety
11   of the products sold by Lin’s Waha, and OCM has conceded that there has been no
12   consumer confusion as to the source of the goods. Despite all of this, OCM seems to
13   believe that Lin’s Waha can be liable for trademark infringement for its sale of
14   genuine products simply because OCM claims to be the “exclusive distributor” of the
15   Products at Issue in the United States. As explained in Lin’s Waha’s Motion and
16   below, regardless of any “exclusivity” OCM claims to enjoy, Lin’s Waha cannot be
17   liable for trademark infringement for its sale of genuine products under the First Sale
18   Doctrine, even if there are alleged differences between the products. See Summit
19   Tech., Inc. v. High-Line Med. Instr. Co., Inc. 922 F. Supp. 299, 307 (C.D. Cal. 1996).
20   While OCM may feel it is not achieving the full benefits of its purported “exclusive”
21   arrangement, trademark law is not the correct vehicle to enforce its rights. Id.
22        OCM also lacks an understanding regarding its burden in opposing a summary
23   judgment motion. Despite admitting in discovery that Lin’s Waha’s products are
24   genuine and failing to identify any differences between the products or consumer
25   confusion [SUF 22, 23, 25, 26], OCM conclusorily asserts in its Opposition that Lin’s
26   Waha’s products are “materially different” from OCM’s products because they lack
27   certain “veterinary certificates” purportedly required by the U.S. Department of
28   Agriculture (“USDA”). Putting aside that this assertion directly conflicts with its prior

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1    discovery responses, it is based on nothing more than OCM’s own self-serving
2    declarations. OCM has provided the Court with no supporting factual data or
3    evidence demonstrating that there is any actual difference between the products sold
4    by OCM and Lin’s Waha, that the USDA requires veterinary certificates for
5    importation of the Products at Issue, or that the lack of such certificates is a material
6    difference that would be relevant to consumers when purchasing the products,
7    particularly when OCM has submitted a declaration from the manufacturer itself
8    admitting that there is no concern regarding the quality and safety of the products sold
9    by Lin’s Waha in the United States. It is well-settled that when the nonmoving party
10   relies only on its own affidavits to oppose summary judgment, as OCM does here, it
11   cannot rely on conclusory, unsupported allegations to create an issue of material fact.
12        Finally, OCM’s Opposition demonstrates that OCM misunderstands its burden
13   in establishing its entitlement to monetary damages under the Lanham Act. While
14   OCM concedes that it must point to a “measurable loss” to establish actual damages,
15   it has provided no competent evidence of any such loss to create a genuine issue of
16   fact. Nor has it provided any actual evidence of willful infringement to entitle it to
17   disgorgement of Lin’s Waha’s products. Instead, OCM claims that its damages
18   should be presumed just because it is the alleged “exclusive distributor” of the
19   products at issue. Again, this is not the law, and summary judgment is appropriate
20   when a plaintiff “simply assumes” that any profits realized by the defendant represent
21   damages suffered by the plaintiff. See tagTrends, Inc. v. Nordstrom, Inc., 2014 WL
22   12561604, at *5 (C.D. Cal. Sept. 30, 2014). That is exactly what OCM has done here.
23        Put simply, this is a case where Lin’s Waha sold genuine goods manufactured
24   by the same manufacturer as OCM in the United States for a period of 15 months, and
25   stopped selling the products shortly after receiving a cease and desist letter from
26   OCM. Despite the fact that OCM has produced sales invoices totaling only $232, it
27   seeks damages of up to $82,666, based on nothing more than the unsupported
28   assumption of its declarant that it “would have” made such profits “due to the

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1    exclusivity.” Because OCM has not and cannot provide this Court with evidence to
2    create a genuine issue for trial on either liability or damages, Lin’s Waha respectfully
3    requests that the Court grant its Motion for Summary Judgment.1
4    II.   OCM HAS FAILED TO DEMONSTRATE THAT THERE IS A
5          GENUINE ISSUE OF FACT ON EITHER OF ITS CLAIMS

6          A.    OCM’s Opposition Completely Ignores This Court’s Ruling in
                 Summit Technology
7

8          As explained in Lin’s Waha’s Motion, OCM admitted in discovery that Lin’s
9    Waha “purchased/sold genuine products” [SUF 22, 23, 25, 26] (emphasis added);
10   thus, OCM’s trademark infringement claim is barred by the First Sale Doctrine. In
11   its Opposition, OCM unsuccessfully attempts to resurrect its failed claim by ignoring
12   its prior admissions and arguing that the Products at Issue sold by Lin’s Waha are
13   “materially different” from those sold by OCM because the manufacturer, XPP,
14   “made its domestic products using dairy/milk sources different from its products
15   earmarked for U.S. consumption.” (Opp., 3:23-25). Specifically, OCM argues that
16   “XPP’s US-bound products (those sold by OCM) have veterinary certificates to prove
17   milk/dairy sources are in compliance with entry requirements set by the
18   USDA/APHIS (US Department of Agriculture/Animal and Plant Health Inspection
19   Service),” whereas Lin’s Waha sells genuine XPP products that are made for Chinese
20   consumption and, therefore, are “not compliant with USDA/APHIS import
21   requirement.” (Id., 4:1-8). However, what OCM wholly ignores is this precise
22   argument was considered - and rejected – by this Court in Summit Tech.
23         In that case, Summit attempted to stop the defendant’s sale in the United States
24   of genuine Summit medical laser systems that were manufactured for foreign use
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      It is unclear whether OCM is arguing that Local Rule 7-3’s requirement was not
     satisfied. To be clear, counsel for Lin’s Waha met and conferred with Plaintiff via
27   email and telephone on January 20 and 21 regarding the substance of its motion and
28
     any potential resolution, in accordance with the requirements of Local Rule 7-3.
     (OCM Compendium of Exhibits (“COE”), at Exh. 1).
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1    only. 922 F. Supp. at 302. Like OCM, Summit argued that the re-imported foreign
2    Summit systems were not “genuine” Summit products because they differed
3    “materially” from the systems intended for U.S. use, including the fact that they were
4    not approved by the FDA and not subject to the same quality controls.2 Id. The
5    district court disagreed with Summit, dismissing its trademark claims under Fed. R.
6    Civ. P. 12(b)(6), finding that notwithstanding the differences between the foreign and
7    domestic systems, the “essential fact remains that based on the allegations in the
8    Complaint, the re-imported [foreign] laser systems are Summit products,
9    manufactured and sold by Summit itself. Thus, consumers will not be confused as to
10   whether the re-imported laser systems are ‘Summit’ systems–they are. There is no
11   ‘likelihood of confusion as to the source of the goods,’ which, based on Plaintiff’s
12   allegations, is Summit.” Id. at 308 (citations omitted). Under the First Sale Doctrine,
13   Summit could not “use trademark law to control the downstream distribution of
14   products that Summit itself manufactured and sold.” Id. at 309 (emphasis in original).
15         Here, like Summit, the Products at Issue sold by OCM and Lin’s Waha are
16   manufactured in China by the exact same entities: XPP and Lang Fong Yuen. [SUF
17   8, 10-12, 18-19]. They bear the same, genuine trademarks registered by these entities,
18   and they are not altered in any way between manufacture and sale in the U.S. [SUF
19   13-15, 17-21]. Thus, all of the Products at Issue – those sold by OCM and Lin’s
20   Waha – are genuine products, and it is irrelevant whether there are “differences”
21   between the genuine foreign and U.S. versions of the products. Summit Tech., 922
22   F.Supp. at 309 (“the fact that Summit sold different goods in different markets for
23   different prices does not render the ‘first sale’ rule inapplicable . . . Simply put, if
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      OCM alleges that Lin’s Waha’s products are “materially different” from OCM’s
     products because Lin’s Waha did not obtain “veterinary certificates” in compliance
26   with USDA requirements. As explained in section II.B below, OCM has provided no
27   competent evidence to support this allegation; however, it should be noted that in
     Summit Tech., the plaintiff alleged the defendant’s goods were not in compliance with
28   FDA requirements, a difference the district court in Summit Tech. did not find relevant
     in its application of the First Sale Doctrine to bar the plaintiff’s trademark claim.
                                             4
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1    Summit manufactures laser systems which differ from those designed for use in the
2    United States, and sells them in foreign markets, Summit does so at its own risk”).
3    Because the different Summit products were all manufactured by Summit and were,
4    therefore “genuine,” the court held that there “is no danger that consumers are likely
5    to be confused as to the source of the Summit laser systems – the main concern of
6    trademark law.” Id. at 310. The same goes for OCM here. OCM may sue XPP for
7    allowing its genuine products to be resold in the United States, despite its purported
8    exclusive distributor agreement, or XPP may sue Chinese entities for selling certain
9    products to U.S. distributors such as Lin’s Waha, but given that there is no likelihood
10   of confusion as to the source of the goods – a fact OCM admits - Lin’s Waha cannot
11   be held liable under trademark law for selling genuine products manufactured by XPP
12   in the United States. As made clear in Summit Tech.:
13        The fact that used Summit systems are now in competition with new
14
          systems intended for U.S. is not a matter of trademark law concern.
          Certainly, Summit might have dealt with this problem, by drafting
15        restrictive licensing agreements or barring foreign purchasers from re-
16        importing the Summit machines into the United States. Summit apparently
          failed to do this. It cannot now turn to trademark law to remedy this failure.
17

18   Id. at 310-11.

19         Nowhere in its Opposition does OCM address Summit Tech. or explain how its

20   holding should not apply in the instant case, which involves virtually identical facts

21   to this case. If a trademark owner and manufacturer such as Summit cannot stop the

22   sale of genuine goods in the United States, even if they are materially different than

23   other genuine goods purportedly manufactured for sale in the United States, neither

24   should an alleged licensee and distributor such as OCM.

25        B.     Even Assuming This Court Considers Any Alleged Differences
                 Between the Products, OCM Has Failed to Create a Genuine Issue of
26               Fact Regarding “Material Differences”
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           As explained in Summit Tech., when the goods at issue are manufactured and
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     originally distributed by the same manufacturer, as they are in this case, they are all
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 1   “genuine” products, as opposed to being “parallel” or “gray market” goods
 2   manufactured by a foreign licensee of the trademark owner, over which the trademark
 3   owner does not have any control. 922 F. Supp at 309-310. In cases involving such
 4   “parallel” or “gray market” goods, the court looks at whether there are “material
 5   differences” between the goods to determine if the first sale doctrine bars a claim of
 6   trademark infringement. Id. Here, there is no need to determine whether there are
 7   “material differences” between the products sold by OCM and Lin’s Waha, because
 8   they are all manufactured by XPP and, therefore, all genuine. However, even if that
 9   was not the case, and the Court did examine whether any “material differences” exist
10   between the Products at Issue, Lin’s Waha would nonetheless be entitled to summary
11   judgement on OCM’s trademark claim because OCM has failed to meet its burden in
12   creating a genuine issue of fact as to the “material differences” between the products.
13         As explained above, OCM claims in its Opposition that the Products at Issue
14   are “materially different” because “XPP’s US-bound products (those sold by OCM)
15   have veterinary certificates to prove milk/dairy sources are in compliance with entry
16   requirement set by USDA/APHIS,” whereas Lin’s Waha’s products are “not
17   compliant with USDA/APHIS import entry requirement.” (Opp., 4:1-8). However,
18   such general, unsupported allegations of “differences” between the products are
19   simply not enough to overcome summary judgment. Rather, the nonmoving party
20   must go beyond the pleadings and, by its own affidavits or depositions, answers to
21   interrogatories, and admissions on file, come forth with specific facts to show that a
22   genuine issue of material fact exists. Hansen v. U.S., 7 F.3d 137, 138 (9th Cir. 1993)
23   (citing Fed.R.Civ.P. 56(e)). When the nonmoving party relies only on its own
24   affidavits to oppose summary judgment, as OCM does here, it cannot rely on
25   conclusory allegations unsupported by factual data to create an issue of material fact.
26   Id.; see also Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007)
27   (“Conclusory, speculative testimony in affidavits and moving papers is insufficient to
28   raise genuine issues of fact and defeat summary judgment”); Abbywho, Inc. v.

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 1   Interscope Records, 2007 WL 9701989, at *12 (C.D. Cal. Oct. 23, 2007) (Plaintiffs’
 2   “bare assertions” were “simply insufficient to raise a triable issue of fact” on
 3   trademark claim). Here, OCM’s allegations of “material differences” are just that –
 4   allegations – unsupported by any factual data or competent evidence.
 5         First, OCM has not provided this Court with any competent evidence that the
 6   USDA even requires “veterinary certificates” for the Products at Issue. OCM alleges
 7   that they are required for products containing “milk/dairy” (Opp., 4:1-5; 5:17-20);
 8   however, three (3) of the nine Products at Issue do not even contain milk and/or dairy
 9   (i.e., MECO brand teas: Kumquat & Lemon, Thai Lime, and Peach & Pink
10   Grapefruit). (See Supplemental Declaration of Xiuqing Lin (“Lin Supp. Decl.”), at ⁋
11   2). Thus, even assuming the USDA requires a “veterinary certificate” for the
12   importation of products containing milk/dairy, that purported requirement would not
13   apply to these three products. Thus, OCM has not alleged the existence of any
14   differences with respect to these three products, much less any “material differences.”
15         Second, with respect to the six (6) Products at Issue3 that do contain milk and/or
16   dairy ingredients, OCM has provided no competent evidence that the products XPP
17   manufactures for OCM’s distribution in the United States are in any way different
18   from those same products it manufactures for distribution in China. OCM has
19   provided only unsupported and self-serving statements in two declarations that
20   generally state that the Products “are different.” (See Declaration of Xiauqing Liu
21   (“Liu Decl.”), at ¶ 2; Declaration of XuHuan Mo (“Mo Decl.”), ¶¶ 4-6). OCM has
22   submitted no documents or other evidence demonstrating that XPP manufactures
23   products for U.S. distribution using different ingredients or other testing or
24   compliance than it uses for products distributed in China. To the contrary, the
25   “Products Distribution Agreement” between XPP and OCM, which OCM produced
26   in this action, states that the products it provides to OCM for distribution “are
27
     3
      These six (6) Products are: XIANGPIAOPIAO Dasheen Milk Tea, XIANGPIAOPIAO
28
     Strawberry Milk Tea, XIANGPIAOPIAO Wheat Milk Tea, XIANGPIAOPIAO Original
     Milk Tea, MECO Milk Tea, and LAN FONG YUEN Milk Tea.
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 1   manufactured in accordance with the quality standards of [People’s Republic of
 2   China] and can only be sold after passing inspection.” [SUF 18] (emphasis added).
 3   Nowhere in this Agreement does it state that goods manufactured for OCM are
 4   manufactured in accordance with U.S. requirements, and OCM’s conclusory and
 5   unsupported declaration testimony is not enough to create a genuine issue of fact.
 6            Third, OCM has failed to provide any competent evidence that the USDA even
 7   has specific importation requirements for the type of finished bottled beverages at
 8   issue here, or requires any “veterinary certificates” for the importation and/or sale of
 9   these products in the United States. OCM cites no regulations, orders or other
10   mandates from the USDA that pertain to the claimed requirements. Rather, once
11   again, OCM provides only conclusory statements by its local brand manager and
12   XPP’s business manager that import entry requirements exist, without citation to any
13   of these purported legal requirements. (See Liu Decl., at ¶ 2 [Dkt. 32-17]; Mo Decl.,
14   ¶ 5 [Dkt. 32-18]). However, neither Liu nor Mo are identified as importation experts
15   nor has OCM laid any foundation for their purported knowledge 4, yet these
16   individuals summarily declare (without any legal citation or analysis) that a
17   requirement for importation is the existence of a “veterinary certificate.” (Id.) Again,
18   this conclusory testimony falls far short of establishing that the USDA requires
19   “veterinary certificates” for the Products at Issue.5
20

21   4
         See Lin’s Waha’s Evidentiary Objections filed concurrently herewith.
22   5
       The USDA’s Animal and Plant Health Inspection Service (“APHIS”) does not
23   require a veterinary certificate for the import of “[f]ormulations containing dry milk
     products as the only animal origin ingredient, commercially labeled and presented in
24
     final finished packaging requiring no further manipulation of the product (includes
25   all products that contain dry milk powder or dry milk products to include the
     following as a partial, not all-inclusive list: baking mixes, cocoa mixes, drink mixes,
26
     etc.)” (emphasis added). (See Request for Judicial Notice (“RJN”), Exhs. A & B). As
27   can be seen in the enhanced image of the list of ingredients on OCM’s own products,
     contained in paragraph 3 of the Lin Supplemental Declaration, the ingredient is a
28
     “milk tea powder” and/or “dry milk” which would fall within an exception to the
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 1         Indeed, the “veterinary certificates” that OCM submitted to the Court as
 2   evidence of this alleged “material difference” do not even pertain to any of the
 3   Products at Issue. Specifically, OCM’s Exhibit 3 attaches two alleged “Veterinary
 4   (Health) Certificates” that pertain to only two products (Matcha Mix Milk Tea and
 5   Muscovado Sugar Mix Milk Tea) – neither of which are Products at Issue. (See COE,
 6   Exh. 3 [Dkt. 32-5]). Furthermore, both certificates are dated March 24, 2020, well
 7   after the infringement period at issue – i.e. July 2018 through October 2019. Thus,
 8   not only does OCM not satisfy its burden to establish that “Veterinary Certificates”
 9   are required, but this evidence does not even demonstrate that OCM itself possessed
10   “veterinary certificates” for the Products at Issue during the same timeframe Lin’s
11   Waha was offering the products.
12         In fact, the evidence demonstrates that OCM itself was selling XPP goods
13   “made for Chinese domestic consumption” in the United States prior to its alleged
14   exclusive distribution agreement with XPP. Specifically, OCM has provided this
15   Court with evidence that it was selling XPP products in the United States as early as
16   December 2017 (see Declaration of Xhang Lin Li, ¶ 2 [Dkt. 32-11]; COE, Exh. 10,
17   Column G of Excel sheet, showing sales going back to January 2018), yet it claims it
18

19   “Veterinary Certificate” requirement. (RJN, Exhs. A & B; Lin Supp. Decl., ⁋⁋ 3 &
     4). There is no dispute that Lin’s Waha imports these same genuine products and are
20   “commercially labeled and presented in final finished packaging requiring no further
21   manipulation of the product;” accordingly, OCM offers no explanation as to why
     these products require a veterinary certificate. [SUF 26 (“It appears that LW
22   purchased/sold genuine products during the time when OCM has the exclusivity”)].
23   While OCM points to the seizure of two shipments by the U.S. Department of
     Agriculture in August 2019 and September 2019 (COE, Exh. 4), it is Lin’s Waha’s
24   contention that these shipments were seized improperly in light of the above-stated
25   analysis. (Lin Supp. Decl., ⁋ 6). However, because Lin’s Waha had already agreed
     to stop selling the Products at Issue after receiving OCM’s cease and desist letter in
26   July 2019, it made the economic decision to not contest the seizure. (Id.) Indeed, no
27   other shipments of the Products at Issue imported by Lin’s Waha were ever seized
     (for lack of veterinary certification or any other reason). (Id. and Exh. 7 (several
28   examples of U.S. Customs and Border Entry Summary Documents for the Products
     at Issue)).
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 1   did not enter into an exclusive distribution agreement with XPP until July 1, 2018.
 2   (Liu Decl., ¶1 [Dkt. 32-17]). OCM admits that the alleged “material difference”
 3   between the Products at Issue exists between Lin’s Waha’s products and those
 4   products “made by XPP for OCM’s exclusive distribution in the U.S.” (Id., ¶ 2)
 5   (emphasis added). If this “material difference” only exists between the products sold
 6   by OCM after its alleged exclusive distributorship started in July 2018, it follows that
 7   there was no “material difference” between Lin’s Waha’s products and the products
 8   OCM sold in the United States prior to July 2018. This fact alone defeats its
 9   unsupported allegation of any “material differences,” as “a plaintiff in
10   a gray market trademark infringement case must establish that all or substantially
11   all of its sales are accompanied by the asserted material difference in order to show
12   that its goods are materially different.” Bourdeau Bros., Inc. v. Int’l Trade
13   Comm'n, 444 F.3d 1317, 1321 (Fed. Cir. 2006) (citing SKF USA, Inc. v. Int’l Trade
14   Comm’n, 423 F.3d 1307, 1315 (Fed. Cir. 2005)) (holding that “the sale by a trademark
15   owner of the very same goods that he claims are gray market goods is inconsistent
16   with a claim that consumers will be confused by those alleged gray market goods”).
17         Finally, even assuming OCM had provided the Court with competent evidence
18   that it possessed veterinary certificates for the six Products at Issue containing
19   milk/dairy during the relevant time period, under Federal law, this alleged
20   “difference” would not be considered “material.” As explained in Lin’s Waha’s
21   Motion, “not all differences are material.” Beltronics USA, Inc. v. Midwest Inventory
22   Dist., LLC 562 F.3d 1067, 1072-3 (10th Cir. 2009) (holding that some differences
23   “prove so minimal that consumers who purchase the alleged infringer's goods get
24   precisely what they believed they were purchasing [and] consumers' perceptions of
25   the trademarked goods are not likely to be affected by the alleged infringer's sales.”)
26   OCM’s own declaration testimony establishes that XPP has “no concern” regarding
27   “the safety and quality of XPP [Chinese] domestic products” sold by Lin’s Waha in
28   the United States. (Mo Decl., ¶ 5 [Dkt. 32-18]) (emphasis added). Thus, even

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 1   assuming the products sold by Lin’s Waha did not have “veterinary certificates” and
 2   OCM’s did (again, OCM has not provided competent evidence this is the case), such
 3   a difference would not be “material,” as consumers would be getting precisely what
 4   they believed they were purchasing, and summary judgment is appropriate. See e.g.,
 5   Iberia Foods Corp. v. Romeo, 150 F.3d 298, 306 (3rd Cir. 1998) (directing district
 6   court to enter summary judgment for defendant on trademark infringement claim
 7   based on finding of “no material difference” between products at issue).
 8         Because OCM has failed to create a genuine issue of fact regarding the
 9   application of the First Sale Doctrine to bar its trademark claim (and the dependent
10   unfair competition claim), Lin’s Waha respectfully requests that the Court grant
11   summary judgment on both claims.6
12        C.     OCM’s Opposition Fails to Create a Genuine Issue of Fact as to its
13
                 Claim for Monetary Damages

14         As explained in Lin’s Waha’s Motion, despite the fact that it has provided no
15   evidence of any actual loss, OCM claims it is entitled to recover its own “lost profits”
16   of allegedly $82,666 or Lin’s Waha’s profits of approximately $24,847, under either
17   a disgorgement or unjust enrichment theory. As for the claim for disgorgement, Lin’s
18   Waha explained in its Motion that a plaintiff seeking disgorgement of a defendant's
19   profits in a trademark infringement case must demonstrate that the defendant willfully
20   infringed the mark. See e.g., Sansi North America, LLC v. LG Elec. USA, Inc., 2019
21   WL 8168069, at *6–10 (C.D. Cal. Nov. 14, 2019) (citing Stone Creek, Inc. v. Omnia
22   Italian Design, Inc., 875 F.3d 426, 440 (9th Cir. 2017). In its Opposition, OCM
23   makes the vague assertion that “there is definitely evidence regarding some form of
24   intent”; thus, disgorgement of Lin’s Waha’s profits is appropriate. (Opp., 10:10-15).
25   In support of this claim, OCM cites only to the fact that Lin’s Waha sold off its
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      OCM does not mention its unfair competition claim in its Opposition, apparently
     conceding that it is entirely dependent on its trademark claim. See e.g., Conversive,
28   Inc. v. Conversagent, Inc., 433 F.Supp.2d 1079, 1093-94 (C.D. Cal. 2006) (granting
     summary judgment on unfair competition claims in light of failed trademark claim).
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 1   remaining inventory in the three months following its receipt of a cease-and-desist
 2   letter in July 2019, with the final sale occurring in October 2019. (Id.) As explained
 3   in Lin’s Waha’s Motion, such conduct is not sufficient as a matter of law to constitute
 4   the “deliberate intent to deceive” necessary to establish willful infringement. See e.g.,
 5   Groupion, LLC v. Groupon, Inc., 826 F.Supp.2d 1156, 1165 (N.D. Cal. 2011) (“the
 6   failure to stop using a mark after receiving a cease and desist letter does not show
 7   willful infringement and is not necessarily indicative of bad faith”).           OCM’s
 8   Opposition does not address these authorities or explain how Lin’s Waha’s actions
 9   constitute an “intent to deceive.” OCM also ignores that “[i]nfringement is not willful
10   if the party reasonably believes that its usage of a trademark is not barred by law.”
11   See San Miguel Pure Foods Co., Inc. v. Ramar Inter. Corp., 625 F. App'x 322, 325
12   (9th Cir. 2015). As explained in its Motion, Lin’s Waha has always believed that its
13   sale of genuine products in the United States is permitted under the First Sale Doctrine
14   [SUF 29]. Indeed, as explained above, OCM’s own evidence establishes that it was
15   selling the identical products sold by Lin’s Waha in the United States as early as 2017
16   (Li Decl., ¶ 2 [Dkt. 32-11]; COE, Exh. 10), despite the fact that it alleges it did not
17   become the exclusive distributor until July 2018. (Liu Decl., ¶ 1 [Dkt. 32-17]). It is
18   unclear how OCM can now claim the exact conduct constitutes an “intent to deceive”
19   customers. Because OCM has not and cannot create a genuine issue of fact regarding
20   willful infringement, summary judgment on its claim for disgorgement of Lin’s
21   Waha’s profits is appropriate. See e.g., Moa Moa, Inc. v. New Moa Collection, 2019
22   WL 8112468, at *12–13 (C.D. Cal. Aug. 30, 2019) (granting summary judgment on
23   willfulness and disgorgement of profits based on lack of evidence).
24         As for OCM’s claim for actual damages based on either its own alleged lost
25   profits or Lin’s Waha’s profits, OCM concedes in its Opposition that a “plaintiff must
26   be able to point to a ‘measurable loss’ incurred as a result of the infringement.” (Opp.,
27   6:15-17) (citing Blau v. YMI Jeanswear, Inc., 2004 WL 5313967, at *4 (C.D. Cal.
28   Jan. 2, 2004)). This is true regardless of whether a plaintiff seeks actual damages in

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 1   the form of its own losses or in the form of the defendant’s profits as a proxy for its
 2   own damages. Id. at *3-5. In the case of the latter, the plaintiff must demonstrate
 3   both that it has suffered a “measurable loss” as a result of the infringement, and that
 4   the parties are in “direct competition.” Id. As pointed out in Lin’s Waha’s Motion,
 5   OCM has not provided any evidence of lost sales or customers as a result of Lin’s
 6   Waha’s actions in discovery, and it fails to do so in its Opposition [SUF 53-54].
 7         Specifically, OCM ignores its burden to provide evidence of some “measurable
 8   loss,” and instead argues ipso facto that its damages should somehow be presumed
 9   because it is the alleged “exclusive distributor” of XPP’s products in the United States.
10   (Opp., 6:27-7:4) (“Here, LW is in direct competition with OCM related to the
11   Branded Products for the simple reason that OCM is the exclusive distributor in the
12   U.S. during the relevant period. Any act of distributing the Branded Products (in the
13   U.S.) by LW . . . directly competes, injures and diverts sales that can only be made
14   by OCM due to the undisputed exclusivity”).7 Indeed, OCM’s “computation” of
15   $82,666 in lost sales is devoid of any support or explanation. Rather, it is based on
16   the conclusory and self-serving declaration testimony that the products sold by Lin’s
17   Waha “would have been sold by OCM, due to the exclusivity.” (Liu Decl., ¶ 6).
18   OCM cites no authority to support its claim that an exclusive distributor’s actual
19   damages are presumed or that it is presumed that an exclusive distributor-plaintiff
20   directly competes with a defendant, even when the plaintiff has never sold products
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       OCM attempts to argue that the parties “directly compete” because it has “four
23   branch offices to serve its customers all cross [sic] the United States.” (Opp., 10:27-
     11:2 and COE, Exh. 11). However, Exhibit 11 reflects what appears to be a screen
24   shot of office locations for OCM Globe USA, Inc., which is not the plaintiff or a party
25   to this action, and does not indicate where OCM sells the Products at Issue. Also, as
     evidence of this “direct competition”, OCM has submitted photos that purportedly
26   demonstrate that OCM’s “advertisement activities show that its market penetration is
27   the whole U.S.” (Id., Exh. 12). In reality, these photos appear to reflect marketing
     efforts in California, Texas, and New York only, and it is unclear if the Products at
28   Issue are even depicted in these photos. (Id.) OCM concedes that there is only one
     store (New York) where the parties both sold the Products at Issue. (Opp., 8:12-16).
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 1   in geographic areas occupied by the defendant. Instead, OCM’s Opposition cites
 2   three cases that have nothing to do with either damages or trademark claims. 8
 3         The reason OCM cites no authority is because its “theory” is nonsensical. In
 4   any trademark infringement case, the trademark owner is vested with – by definition
 5   – the “exclusive right” to sell products bearing its trademark; thus, in each of those
 6   cases, the court would be required to assume that – given that exclusive right – any
 7   sales by the defendant of infringing products would “directly compete with, injure,
 8   and divert sales from” the trademark owner. In other words, although OCM would
 9   like to believe that they are of a magical quality by being XPP’s “exclusive
10   distributor,” every trademark case has a plaintiff trademark owner who has the
11   exclusive right to enforce their mark. Those trademark plaintiffs do not – as OCM
12   would like it – get a shortcut to proving up their damages just because they are
13   asserting their exclusive rights in the trademark against a claimed infringer. Indeed,
14   under OCM’s theory, it could enter into an exclusive distributor agreement with XPP,
15   make no attempt to sell XPP products in the United States, and nonetheless be entitled
16   to recover all of Lin’s Waha’s profits upon a finding of liability for trademark
17   infringement simply due to its status as the alleged exclusive distributor. This absurd
18   result is antithetical to the fundamental purpose of a damages award for trademark
19   infringement, which the Ninth Circuit has made clear is to “constitute compensation”
20   rather than to penalize. See 15 U.S.C. § 1117(a). OCM’s belief that it would have
21   made all of the sales that Lin’s Waha made of the Products at Issue simply because
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       OCM cites Schaben v. Samuel Moore and Co., 462 F.Supp. 1321, 1323-24 (S.D.
     Iowa 1978) (action filed by a non-exclusive distributors against a manufacturer for
24   violation of the Robinson-Patman Discrimination and Sherman Anti-Trust Acts, in
25   which district court found, inter alia, that the distributors failed to show a reasonable
     probability of substantial injury to competition or an unreasonable restraint of trade);
26   Yamaha Int’l Corp. v. ABC Int’l Traders, Inc., 1989 WL 206429 (C.D. Cal. Aug. 11,
27   1989) (dismissing defendant’s antitrust counterclaims under the Sherman Anti-Trust
     Act with prejudice); Liberty Sales Assoc., Inc. v. Dow Corning Corp., 816 F.Supp.
28   1004, 1007 (D.N.J. 1993) (holding that New Jersey Franchise Practices Act did not
     apply to relationship between manufacturer and distributor).
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 1   it alleges it entered into an exclusive distributor agreement is precisely the type of
 2   “speculation” that is routinely rejected by district courts. See e.g., Amer. Auto. Assoc.
 3   of Northern Calif. v. Gen’l Motors, LLC , 367 F.Supp.3d 1072, 1107 (N.D. Cal. 2019)
 4   (awarding summary judgment on damages and holding that the declaration submitted
 5   by the plaintiff provided only “conclusory statements” of plaintiff’s “belief” that
 6   plaintiff had been damaged by defendant’s infringement “not supported by detailed
 7   facts or evidentiary support”); tagTrends, 2014 WL 12561604, at *5, n. 15 (awarding
 8   summary judgment on damages and holding that declaration submitted by plaintiff
 9   “simply assumes that any profits realized by [defendant] represent damages suffered
10   by Plaintiffs”). Put simply, OCM bears the burden of establishing that it has suffered
11   actual loss as a result of Lin’s Waha’s alleged infringement, beyond mere speculation.
12   It has failed to do that, and summary judgment is appropriate.9
13   III. CONCLUSION
14         For the reasons set forth above, Lin’s Waha respectfully requests that the Court
15   grant summary judgment on both claims contained in OCM’s Complaint. In the
16   alternative, LCC respectfully requests that this Court grant summary judgment on
17   OCM’s claims for actual damages and disgorgement of Lin’s Waha’s profits.
18   Dated: February 20, 2021                      Respectfully submitted,
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                                                   witkow | baskin
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21                                                 By: /s/ Brandon J. Witkow
                                                   Brandon J. Witkow
22                                                 Attorneys for Defendant LIN’S WAHA
23                                                 INTERNATIONAL CORP.

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       Furthermore, OCM’s “damages computation” set forth in the Liu Declaration that
     OCM would have made $82,666 in profits on the products Lin’s Waha sold, even
26   though Lin’s Waha only made $24,846.73, is inadmissible, as Liu has “has not
27   identified any specific evidence supporting [her] evaluation of the profit margin”
     realized by OCM, and OCM has failed “to establish a proper factual basis for [Liu’s]
28   evaluation of Plaintiffs' damages.” tagTrends, 2014 WL 12561604, at *5; see also
     Lin’s Waha’s Evidentiary Objections filed concurrently herewith.
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